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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

   IN RE: CAPITAL ONE CONSUMER               )
   DATA SECURITY BREACH LITIGATION           )      MDL No. 1:19md2915 (AJT/JFA)
   __________________________________________)

   This Document Relates to CONSUMER Cases
   __________________________________________

       CAPITAL ONE’S OPPOSITION TO PLAINTIFFS’ MOTION TO COMPEL
    PRODUCTION OF A SECTION OF A SUPERVISORY LETTER FOR GOOD CAUSE



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                                            INTRODUCTION

          Plaintiffs’ Motion to Compel is, in essence, a belated Motion for Reconsideration.

   Plaintiffs ask this Court to revisit a prior privilege ruling that Plaintiffs never challenged, based on

   a “good cause” argument that Plaintiffs never previously raised—despite being expressly invited

   to do so. Even if this Court were to entertain Plaintiffs’ untimely good cause argument, however,

   good cause does not exist to override the Office of the Comptroller of the Currency’s (“OCC”)

   assertion of the bank examiner privilege (“BEP”). The privileged material is of scant relevance to

   Plaintiffs’ claims, and Capital One has provided Plaintiffs with full discovery on the underlying

   facts. The OCC is not a party to, and has no financial stake in, the outcome of this litigation and

   Plaintiffs’ attempt to weaponize the OCC’s conclusions set forth in a Supervisory Letter that was

   part of the

                                     . If this Court grants Plaintiffs’ Motion, there is a real risk that

   candid interaction between banks and their regulators—upon which the supervisory process

   depends—will be chilled. For these and other reasons discussed below, the Court should deny

   Plaintiffs’ Motion to Compel.

                                             BACKGROUND

          As this Court is aware, the BEP encompasses a wide range of material, including agency

   opinions and recommendations and a bank’s responses thereto. See, e.g., In re Bankers Tr. Co.,

   61 F.3d 465, 471 (6th Cir. 1995). On June 5, 2020, this Court ruled that the privilege applied in

   this action and that the OCC and the Board of Governors of the Federal Reserve System (“FRB”)

   could intervene to assert the privilege. See Dkt. 540, at 1 (Order). In so ruling, this Court rejected




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   several arguments Plaintiffs raised to try and avoid the privilege.1 Notably absent from Plaintiffs’

   long list of arguments, however, was any argument that Plaintiffs had “good cause” to override

   the privilege.

          On October 30, 2020, Plaintiffs filed a Motion to Compel documents they contended were

   “improperly withheld” on the basis of the BEP. See Dkt. 982 (Motion to Compel) & 983 (Brief in

   Support). Plaintiffs challenged the redactions applied to approximately 400 documents, three of

   which are the duplicate documents at issue (the “Documents”). Dkt. 983, at 2. Plaintiffs expressly

   declined to raise a good cause argument as to these Documents, even though Counsel for the

   Agencies invited Plaintiffs to meet and confer regarding the issue of good cause. See Dkt. No.

   983-4, Pls.’ Exhibit 4 (October 22 email from R. Levenson to J. Dent) (stating that “unless the

   Plaintiffs are foregoing any argument that there is good cause to overcome the bank examination

   privilege . . . we are not at an impasse. . . . [A]s I explained, the Agencies are waiting on Plaintiffs

   to articulate any good cause argument that they might have so that the Agencies may consider that

   argument.”). Plaintiffs rebuffed this invitation and did not raise a good cause argument in their

   Motion. See Dkt. 983. On November 6, 2020, this Court granted Plaintiffs’ Motion in part and

   held that the Court would conduct “an in camera review of a subset of the documents discussed

   during the hearing.” Dkt. 1021 (Order).

          After extensive briefing by Plaintiffs, Capital One, and the Agencies, and a thorough in-

   camera document-by-document review by the Court, this Court issued its Order on December 10,




   1
     Compare Dkt. 486 (Brief in Support of Plaintiffs’ Motion to Compel), at 2–3 (arguing that the
   BEP did not apply because of diversity jurisdiction, that Capital One could not assert the privilege,
   that the BEP must yield to discovery obligations under the Federal Rules of Civil Procedure, and
   that the BEP applies only to agency opinions and recommendations) with Dkt. 540, at 1 (“[T]he
   [C]ourt finds that the federal common law bank examination privilege may be asserted by the
   Agencies . . . .”).
                                                      2
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   2020. See Dkt. 1094 (Order). This Court held that the Documents contained information protected

   by the BEP. See id. at 7–8. This Court specifically ordered redaction of the OCC’s “Conclusions”

   from a Supervisory Letter related to an examination regarding

             .2 The OCC’s “Conclusions” in the Supervisory Letter are



   precisely the type of information the BEP is designed to protect. Plaintiffs never objected to,

   challenged, or appealed this Court’s ruling.

          On April 28, 2021, Plaintiffs filed and served Dr. Madnick’s Response to Expert Rebuttal

   Reports of Art Ehuan and Donald Good (Dkt. 1260-28), the Memorandum of Law in Support of

   Plaintiffs’ Motion for Class Certification (Dkt. 1260), the Declaration of Norman E. Siegel in

   Support of Plaintiffs’ Motion for Class Certification (Dkt. 1260-1), and Exhibit 14 to that

   Declaration (Dkt. 1260-15) (collectively, the “Filings”), all of which contain extensive quotation

   of this privileged information contained in the Documents. Capital One became aware of the

   inadvertent disclosure of this privileged information for the first time upon reviewing the Filings.

   Capital One then discovered that—despite the Court’s explicit instructions as to the redactions—




   2
     In an effort to excuse their conduct, Plaintiffs aver that this Court’s order was “ambiguous” as to
   the material it ordered to be redacted. See Dkt. 1320, at 3. n.2. Plaintiffs assert that this Court’s
   Order is “silent with respect to the ‘Conclusions’ section on pages 1.5 [to] 3.5.” Id. Not so. This
   Court explicitly ordered that “the information preceding”—not beneath—“the heading
   ‘Conclusions’ should be produced.” Dkt. 1094, at 7. This Court also ordered that the headings
   for various Matters Requiring Attention that appears on pages 3 through 14 should be produced,
   that the headings under Violations of Laws and Regulations that appear on pages 14 through 17
   should be produced, and that the “Exit Meeting” section on 18 should be produced. Id. at 7–8.
   The Court ordered everything else redacted. Id. In fact, the Court noted that the headings—and
   only the headings—should remain unredacted because they “do not implicate any substantive
   findings, conclusions, or recommendations.” Id. at 8 (emphasis added). It strains credulity to
   insinuate, as Plaintiffs do, that this Court ordered the OCC’s “findings, conclusions, or
   recommendations” redacted everywhere in the Document except beneath a heading entitled
   “Conclusions.”
                                                    3
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   the redactions were not applied properly to the Documents due to human error. The very next day,

   at the direction of the OCC, Capital One notified Plaintiffs’ counsel in writing that it was invoking

   the clawback provisions of the Protective Order. See Dkt. 1318-1 (April 29 Letter of Ronni D.

   Solomon).     Capital One also promptly produced replacements documents with the proper

   redactions.

          Plaintiffs refused to comply with the clawback provisions of the Protective Order (and this

   Court’s December 10, 2020 Order) and did not remove the Filings and re-file them without the

   privileged material. Instead, Plaintiffs initially asserted that the OCC waived the BEP as a result

   of Capital One’s production of the Documents—an argument that is expressly prohibited by the

   Protective Order3—and that the BEP should be overcome by good cause—an argument that

   Plaintiffs previously declined to raise. See Dkt. 1318-2 (May 3 Letter of Norman E. Siegel).

   Plaintiffs, the OCC, and Capital One subsequently met and conferred on multiple occasions but

   were unable to reach a resolution given Plaintiffs’ continued reliance on their belated good cause

   argument, although Plaintiffs did ultimately agree to abandon their prohibited waiver argument.

   Ex. A (May 14, 2021 Email of J. Dent)).

          Thus, on May 14, Capital One filed its Motion to Enforce Protective Order and to Strike

   (Dkt. 1316, 1318), and Plaintiffs filed their Motion to Compel the Documents (Dkt. 1314, 1320).

   Plaintiffs move to compel on only one ground: good cause. But Plaintiffs’ Motion sets out no facts

   showing why good cause exists here. Instead, Plaintiffs spin their wheels explaining why Plaintiffs

   believed “the [D]ocument[s] had been purposely provided by the OCC,” why Plaintiffs believed




   3
    The Protective Order states that “[t]he Parties shall not argue, in this forum or any other, that any
   privilege or protection was waived as a result of a disclosure in this action, regardless of the
   procedures used to identify Privileged Material prior to production.” Dkt. 368 ¶ XII.B (emphasis
   added).
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   the circumstances of the Documents’ production was “confounding,” and why Plaintiffs believed

   the OCC did not “exercise[] . . . oversight” over the protection of its privilege. See Dkt. 1320 at

   1–6 & n.2. While purporting to be “good cause” arguments, these are really waiver arguments,

   which are prohibited by the Protective Order, irrelevant to the good cause factors, and which

   Plaintiffs explicitly represented they would not raise. Plaintiffs’ continued assertion of such

   waiver arguments is thus improper. In further violation of the Protective Order, Plaintiffs also

   continue to make “use” of the clawed-back privileged material throughout their Motion to Compel

   in an effort to support their “good cause” arguments. See Dkt. 368 ¶ XIII.A.1 (Amended Stipulated

   Protective Order) (requiring Plaintiffs to “immediately cease the review and use of the disclosed

   document or information” (emphasis added)).

                                             ARGUMENT

   I.       PLAINTIFFS CANNOT MOVE FOR RECONSIDERATION OF THIS COURT’S
            ORDER.

            Although Plaintiffs style their Motion as a Motion to Compel, Plaintiffs actually seek

   belated reconsideration of this Court’s December 10, 2020 Order—on a ground that Plaintiffs

   declined to raise in the first instance. This Court should reject Plaintiffs’ attempt to circumvent

   the process governing motions for reconsideration and the stringent standard that applies to such

   motions based on an inadvertent production subject to the claw-back provisions of the Protective

   Order.

            Under Federal Rule of Civil Procedure 54(b), a party may seek reconsideration of

   interlocutory orders. See Carlson v. Bos. Sci. Corp., 856 F.3d 320, 325 (4th Cir. 2017). Motions

   for Reconsiderations are “disfavored” and should be granted “sparingly.” Wooten v. Virginia.,

   168 F. Supp. 3d 890, 893 (W.D. Va. 2016). A court may revise an interlocutory order when (1) a

   subsequent trial produces substantially different evidence; (2) there is a change in applicable law;


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   or (3) there is clear error causing manifest injustice. Id.; see also Am. Canoe Ass’n v. Murphy

   Farms, Inc., 326 F.3d 505, 515 (4th Cir. 2003).

          Plaintiffs cannot seek reconsideration here. To begin, none of the three permissible criteria

   for seeking reconsideration is present. There has been no intervening change in the controlling

   law, there is no “new evidence” that was not available earlier, and this Court made no “clear error”

   that is in need of correcting. Carlson, 856 F.3d at 325. Rather, this Court held that the material at

   issue is protected by the BEP, see Dkt. 1094, at 7–8, and Plaintiffs never challenged that holding

   (through appeal, reconsideration, or otherwise).

          Moreover, throughout the initial litigation of this issue, Plaintiffs never made a good cause

   argument, and in fact rebuffed invitations to meet and confer on the topic. Plaintiffs seek to

   relitigate this issue now only because they received material that was inadvertently produced, but

   that is not a proper basis for revisiting this Court’s ruling—especially on a ground that Plaintiffs

   did not even raise in the first instance and where it violates the terms of the Protective Order. See,

   e.g., Wootten, 168 F. Supp. 3d at 893 (“‘[A] party who fails to present his strongest case in the first

   instance generally has no right to raise new theories or arguments in a motion to reconsider.’”

   (quoting United States v. Duke Energy Corp., 218 F.R.D. 468, 474 (M.D.N.C. 2003))); Dkt. 368

   ¶ XIII.A.1. Plaintiffs have no legitimate grounds to seek reconsideration of this Court’s Order and

   their baseless attempt to do so, in violation of the Protective Order, should be rejected.

   II.    PLAINTIFFS FAIL TO DEMONSTRATE GOOD CAUSE NEEDED TO
          OVERRIDE THE OCC’S PRIVILEGE.

          Even if this Court entertains Plaintiffs’ Motion, Plaintiffs’ belated good cause argument

   cannot override the OCC’s assertion of the BEP in this instance. The BEP is intended to encourage

   banks and their regulators to communicate candidly in order to facilitate effective supervision.

   See, e.g., Bankers Tr.61 F.3d at 471 (“The primary purpose of the [bank examiner] privilege is to

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   preserve candor in communications between bankers and examiners, which those parties consider

   essential to the effective supervision of banking institutions.”); Linde v. Arab Bank, PLC, No. 04-

   cv-2799, 2009 WL 3055282, at *1 (E.D.N.Y. Sept. 21, 2009) (noting the privilege “protects

   communications between banks and their examiners in order to preserve absolute candor essential

   to the effective supervision of banks” (emphasis added)). The privilege is broad by design. It

   encompasses, among other things, agency opinions and recommendations and banks’ responses to

   them. See, e.g., Bankers Tr., 61 F.3d at 471; In re Subpoena, 967 F.2d 630, 634 (D.C. Cir. 1992);

   Linde, 2009 WL 3055282, at *1.

          Because the privilege is broad and protects the candor between banks and their regulators

   that is central to the supervisory process, the privilege is not lightly overcome. A party seeking to

   override the privilege must show “good cause,” which requires a court to consider, “at minimum,”

          A) the relevance of the evidence sought to be protected;

          B) the availability of other evidence;

          C) the ‘seriousness’ of the litigation and the issues involved;

          D) the role of the government in the litigation; and

          E) the possibility of future timidity by government employees who will be forced
          to recognize that their secrets are violable.

   Bankers Tr., 61 F.3d at 472 (emphasis added). The party seeking to override the privilege bears

   the burden of demonstrating good cause. See, e.g., Wultz v. Bank of China, Ltd., 61 F. Supp. 3d

   272, 288–89 (S.D.N.Y. 2013). Plaintiffs have failed to carry their burden. The balance of the

   factors weighs in favor of preserving the OCC’s privilege and against Plaintiffs’ improper attempt

   to weaponize the OCC’s findings and conclusions

                                               in this civil litigation between private parties.




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       A. The Documents Have Little, If Any, Relevance to Plaintiffs’ Claims.

           Plaintiffs’ good cause argument fails at the outset because Plaintiffs cannot demonstrate

   that the Documents are relevant to their claims. “The lack of apparent relevance” of privileged

   material “militates heavily against, if not precludes” its disclosure. Shirk v. Fifth Third Bankcorp,

   No. 1:05–cv–049, 2008 WL 2661955, at *2 (S.D. Ohio July 2, 2008). Plaintiffs appear to articulate

   two grounds for relevance. First, Plaintiffs contend that the privileged material “strongly supports

   Plaintiffs’ claims . . . [that] Plaintiffs’ personally-identifiable information (‘PII’) is at risk . . . .”

   Dkt. 1320, at 6–7.



                                             Not so.




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          In sum, because the Documents—

                                                                                      , they are of no

   relevance to the question of whether Plaintiffs’ PII remains “at risk.” See, e.g., Shirk, 2008 WL

   2661955, at *2 (“First, the relevance of the evidence sought by the plaintiffs in derogation of the

   privilege is not apparent. The regulatory documents that plaintiffs are seeking were all initiated

   and prepared after Fifth Third had already disclosed its accounting problems, which give rise to

   this lawsuit.” (emphasis in original)); Raffa v. Wachovia Corp., No. 8:02–CV–1443–T–27EAJ,

   2003 WL 21517778, at *4 (M.D. Fla. May 15, 2003) (“The Supervisory Letter referred to and

   attached to the Complaint analyzes activities that occurred after the closing of the merger and does

   not reveal what Defendant knew shortly before or at the time of the merger.”).

          Second, Plaintiffs aver that the Documents bear on “[w]hether Capital One violated [the]

   Gramm-Leach-Bliley [Act] (‘GLBA’).” Dkt. 1320, at 6–7. Plaintiffs seek to use the



                       . Id. at 7. In other words, Plaintiffs seek to weaponize the

                                     against Capital One. But it is the facts that are relevant here; not

   the OCC’s conclusions. See, e.g., Desert Valley Painting & Drywall, Inc. v. United States, No.

   2:10–cv–00490–KJD–GWF, 2012 WL 4792913, at *4 n.1 (D. Nev. Oct. 9, 2012) (“These matters

   are irrelevant because the IRS’s analysis and conclusions are not, themselves, at issue in this case.



   4
     While Plaintiffs rely upon the OCC’s Consent Order throughout their Motion, it is neither
   relevant to their claims nor admissible evidence. Capital One references the Consent Order only
   to address the issue of application of the BEP and as necessary to respond to Plaintiffs’ Motion,
   without waiving its right to object to any attempt to use the Consent Order at trial or other
   proceedings.
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   The facts underlying the IRS’s analysis and conclusions are at issue, however, and are therefore

   relevant.”); see also id. at *11 (ordering Government to produce factual matter “without revealing

   the IRS’s administrative analysis, impressions and conclusions”). Moreover, the BEP exists to

   prevent the exact tactic that Plaintiffs are now attempting—as set forth more fully below,

   Plaintiffs’ attempt at weaponizing the OCC’s findings and conclusions in civil litigation would

   have the utmost chilling effect on the supervisory process. See pp. 17–19 infra. The Documents

   contain no factual evidence that bear on Plaintiffs’ claims and are thus irrelevant. Indeed, this

   Court has already expressed skepticism as to Plaintiffs’ position that agency findings are relevant

   to this case. See, e.g., Dkt. 720 (July 20 Hearing Transcript), at 15:9–13 (“[H]ow is what any

   agency says to Capital One going to have a significant bearing in this case? You’ve, you’ve got

   what Capital One was doing, how they were doing it, the information that, you know, they had.”);

   see also id. at 16:8–12 (“[A] regulator having a concern is not a standard setting . . . this is one

   agency’s opinion as to what you ought to look at or what you ought to do.”).

          Even if the Documents were relevant to Plaintiffs’ claims, the privileged material they

   contain is inadmissible for the purposes Plaintiffs seek to use it.5

                                                                                              . Under

   Federal Rule of Evidence 408, compromise and settlement evidence is barred from being used to

   “prove the validity . . . of a disputed claim.” Courts have applied this principle to agency

   allegations that ultimately result in a consent order or a settlement. See, e.g., In re Platinum &

   Palladium Commodities Litig., 828 F. Supp. 2d 588, 593 (S.D.N.Y. 2011); Wilson v. Parisi, No.




   5
     Besides being inadmissible under Federal Rules of Evidence 403 and 408, the privileged material
   is also hearsay without an exception under Federal Rule of Evidence 802.
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   3:CV–04–1737, 2009 WL 151666, at *1–2 (M.D. Pa. Jan. 21, 2009); Ledford v. Rapid–Am. Corp.,

   No. 86 Civ. 9116, 1988 WL 3428, at *1–2 (S.D.N.Y. Jan. 8, 1988).

          The Documents are also inadmissible under Federal Rule of Evidence 403, which provides

   that otherwise relevant evidence may be excluded on grounds of “unfair prejudice, confusing the

   issues, [and] misleading the jury,” among other things.




            . Many of the findings in the OCC’s Supervisory Letter are also not related to this Cyber

   Incident and are therefore likely to further mislead the jury and confuse the issues. See, e.g., Wells

   Fargo Bank, N.A. v. LaSalle Bank Nat’l Ass’n, No. 2:08–CV–1448 JCM (RJJ), 2011 WL 6300948,

   at *3 (D. Nev. Dec. 14, 2011) (excluding OCC audit under Rule 403 because the audit did not

   relate to the program at issue); Carpenters Health & Welfare Fund v. Coca-Cola Co., No. 1:00–

   CV–2838–WBH, 2008 WL 9358563, at *5 (N.D. Ga. Apr. 23, 2008) (excluding Securities

   Exchange Commission Order under Rule 403 because, among other reasons, its conclusions of

   law would confuse a jury and its factual findings were unclear). Likewise, because the Documents

   come from a federal agency, they are likely to carry inordinate weight with a jury, which renders

   them unduly prejudicial. Sigman v. CSX Corp., No. CV 3:15-13328, 2018 WL 1096427, at *2

   (S.D. W. Va. Feb. 28, 2018) (refusing to admit EPA consent order that opined on central issue of

   civil suit because a “consent order with a governmental agency carries inordinate weight in the

   eyes of the jury”); see also id. (finding consent order had little probative value as plaintiffs could

   use other evidence to prove their case).6




   6
    The Consent Order between Capital One and the OCC is also not admissible under Federal Rules
   of Evidence 403 and 408. See, e.g., Sigman, 2018 WL 1096427, at *2.
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      B. Plaintiffs Have Access to Other Evidence to Try and Prove Their Claims.

          Plaintiffs’ argument also fails on the second factor, the “availability of other evidence.”

   Bankers Tr., 61 F.3d at 472. This factor weighs against disclosure where—as here—a party has

   access to the “raw data” or “raw factual materials” underlying an agency’s opinions or conclusions.

   See, e.g., Raffa, 2003 WL 21517778, at *4; In re Bank One Sec. Litig., First Chi. S’holder Claims,

   209 F.R.D. 418, 427 (N.D. Ill. 2002).

          Here, Plaintiffs cannot show that they are without any purported “evidence” the Documents

   contain. Raffa is instructive on this point. In that case, the plaintiff sought to use an OCC

   Supervisory Letter to bolster his claims that a bank wrongfully withheld adverse information about

   its financial status that would have impacted its stock price. 2003 WL 21517778, at *1. In

   assessing whether other evidence was available to the plaintiff, the court noted that “over 25,000

   pages of documents and depositions of key bank personnel” were available to him. Id. at *5. As

   a result, the plaintiff “ha[d] access to the same type of information utilized by bank examiners”

   and thus had “an alternative source for the information sought in the OCC Supervisory Letter.”

   Id. (emphasis added); see also Bank One, 209 F.R.D. at 427 (“Plaintiffs have been provided with

   the raw factual materials underlying these opinions and can use their own expertise to render

   opinions on these facts. Therefore, Plaintiffs have been afforded adequate forms of alternative

   information and fail to meet the second prong of this test.”); Fed. Hous. Fin. Agency v. HSBC Am.

   Holdings, Inc., No. 11 Civ. 6189(DLC), 2014 WL 1909446, at *4 (S.D.N.Y. May 13, 2014)

   (holding this factor weighed in favor of preserving privilege because “FHFA has produced over

   1.5 million documents and GSE employees have been deposed for days”).

          As this Court is well aware, Plaintiffs have received thorough and voluminous discovery

   from Capital One, including more than 358,000 Capital One documents comprising millions of



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   pages and 31 depositions (consisting of over 147 hours of testimony) of individual and Rule

   30(b)(6) Capital One witnesses. There is no dispute that Plaintiffs have obtained the underlying

   factual material relevant to their claims. Plaintiffs, therefore, have “an alternative source for the

   information sought in the OCC Supervisory Letter” because they can “use their own [experts] to

   render opinions on these facts.” Raffa, 2003 WL 21517778, at *5; Bank One, 209 F.R.D. at 427.

   To be sure, Plaintiffs have proffered the testimony of their designated expert, Dr. Madnick, who

   opines on                                                 .

          Indeed, Plaintiffs do not argue that they lack access to any factual material. Instead,

   Plaintiffs argue that the Supervisory Letter reveals




          Moreover, Plaintiffs’ characterizations of Alexander’s testimony are simply not true.




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      C. Plaintiffs Fail to Show This Case Satisfies the “Seriousness” Prong.

          Although neither Capital One nor the OCC debate that this case presents serious

   allegations, that alone does not satisfy the “seriousness” inquiry contemplated by the third prong

   of the test. Bankers Tr., 61 F.3d at 472. Courts have recognized that “purely private litigation”

   carries less weight for purposes of this factor. See Begelman & Orlow, P.C. v. Dean, No. 13–

   699(CKK), 2013 WL 5511531, at *3 (D.D.C. Oct. 7, 2013); see also In re Providian Fin. Corp.

   Sec. Litig., 222 F.R.D. 22, 29 (D.D.C. 2004) (finding “seriousness” factor was not satisfied in

   securities suit where plaintiffs alleged defendants made fraudulent statements to the public); Shirk,

   2008 WL 2661955, at *3 (holding suit between private litigants “d[id] not rise to the level of

   seriousness” required to override the privilege).

          Here, Plaintiffs make no showing that their private lawsuit rises to the level of

   “seriousness” required to override the OCC’s privilege. Plaintiffs’ “seriousness” argument is

   largely a rehash of their arguments regarding the first two factors. See Dkt. 1320, at 8. Although

   Plaintiffs contend that their private suit “implicat[es] the rights of approximately 98 million

   Americans,” id., what Plaintiffs neglect to mention is that there is no evidence that the data Paige

   Thompson stole ever left her computer or that anyone has been harmed as a result of her theft of

   the data. Plaintiffs have no evidence that this case implicates the rights of anyone, let alone 98

   million Americans. Thus, the third factor also weighs in favor of preserving the OCC’s privilege.

      D. The OCC Is Not a Party and Has No Interest in this Case.

          The fourth factor—the role of the government—weighs decidedly against Plaintiffs

   because the OCC is not a party to this suit and has no interest in its outcome. Even the lone case

   Plaintiffs cite recognizes that this factor weighs in favor of overriding the privilege only when the




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   government is a party or otherwise has “a direct interest in the outcome of the litigation.” Principe

   v. Crossland Sav., FSB, 149 F.R.D. 444, 449 (E.D.N.Y. 1993).

          The OCC is not a party to this lawsuit. Nor does the OCC have a “direct interest” in the

   outcome of this litigation, as Plaintiffs appear to contend. See Dkt. 1320, at 9. Plaintiffs assert

   that this factor weighs in their favor because the OCC is an “intervenor” and the Documents are

   “indicative of the OCC’s own failures in oversight.” Id. But Plaintiffs’ position would render the

   fourth factor a nullity. If Plaintiffs were correct, then the fourth factor would always weigh in

   favor of disclosure in any lawsuit where the agency intervened to protect its privilege and in

   virtually any lawsuit brought against a bank so long as an agency’s oversight was somehow

   implicated. Plaintiffs cite no authority in support of their sweeping misinterpretation of the fourth

   factor. Moreover, the lone case Plaintiffs do cite does not support their position. In Principe, the

   court found that the fourth factor weighed in favor of overriding the privilege because the Federal

   Deposit Insurance Corporation was the “receiver of the failed CrossLand and conservator of the

   new CrossLand Federal.” 149 F.R.D. at 449. Thus, the Court concluded, “the FDIC will

   [financially] benefit if defendant prevails in this action.” Id.; see also Raffa, 2003 WL 21517778,

   at *4 (“The OCC is not a party to the litigation, and does not have a financial stake in it.” (emphasis

   added)). The OCC has no such financial stake here, and this factor thus weighs in favor of

   preserving the OCC’s privilege.

          Plaintiffs also argue that this factor weighs in their favor because the OCC “did not take

   reasonable, minimal steps (or any steps) to protect its privilege.” Dkt. 1320, at 9. Whatever steps

   the OCC did or did not take to “protect its privilege” are irrelevant under this factor. Moreover,

   Plaintiffs’ underhanded attempt to argue waiver—despite the Protective Order’s prohibition and




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   after expressly representing to Capital One and the OCC that they would not raise such

   arguments—is highly improper. See p. 5 supra. This argument warrants no consideration.

      E. The Risk of Future Government Timidity Is High.

          The final factor, the risk of “future timidity” by government employees, weighs heavily

   against Plaintiffs’ argument. Bankers Tr., 61 F.3d at 472. The law is clear that the “forced

   disclosure of confidential supervisory information exchanged between the bank and its regulators

   does indeed raise ‘the possibility of timidity by government employees who will be forced to

   recognize that their secrets are violable.’” Shirk, 2008 WL 2661955, at *3 (emphasis added); see

   also Providian, 222 F.R.D.at 29 (“[T]he Court concludes that disclosure of the deliberative

   material could lead to ‘timidity by government employees who will be forced to recognize that

   their secrets are violable.’”); Bank One, 209 F.R.D. at 428 (“The memos and examinations created

   by the OCC contain the thoughts and recommendations of the government. Should the government

   be forced to produce these documents, future government employees may be reluctant to capture

   the full breadth of their opinions and thoughts in written format for fear of future disclosure. A

   break in confidentiality could have a ‘chilling effect’ on the ability of bank regulators to perform

   their duties in the future.”); FDIC v. Birscoe, No. 1:11–cv–2303–SCJ, 2014 WL 12775663, at *4

   (N.D. Ga. Feb. 4, 2014) (“[T]here is a real possibility that the exposure of information revealing

   the deliberative processes and analyses of personnel involved in the examination of banks will

   chill the free flow of information between GDBF personnel.”).

          Here, disclosure of the privileged material in question comes with a high risk of “future

   timidity” on the part of the government. The case of Shirk v. Fifth Third Bank is instructive. In

   that case, the plaintiffs in a class action sought the “examination reports and communications” that

   culminated in a Written Agreement between the FRB, the Ohio Department of Commerce,



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   Division of Financial Institutions, and Fifth Third Bank. 2008 WL 2661955, at *2. The bank and

   the agencies objected, contending that the documents were protected by the bank examiner

   privilege. Id. at *2–3. The court held that the “future timidity” factor weighed against disclosure,

   noting “the potential chilling effect on candid interaction.” Id. at *3. Because “the bank [had]

   consented to regulatory action . . . [t]he potential that banking institutions would avoid consensual

   undertakings . . . militates against production of these privileged documents.” Id.; see also

   Providian, 222 F.R.D.at 29 (noting “disclosure may have a chilling effect on future OCC efforts”).

   The same considerations apply here.



                                                                             This material is the core of

   the bank examiner privilege—something not even Plaintiffs dispute.

                                                                                   See Consent Order, In

   the Matter of: Capital One, N.A., AA-EC-20-49 & Consent Order, In the Matter of: Capital One,

   N.A., AA-EC-20-51. Accordingly, disclosure of this material would undermine the supervisory

   process and have “a chilling effect on future OCC efforts.” Providian, 222 F.R.D.at 29.

          Plaintiffs, realizing they cannot possibly satisfy this factor, engage in distraction. Plaintiffs

   argue that “[t]he vast majority of correspondence, examinations, emails and documents related to

   the OCC’s examinations of Capital One have been withheld in this case or heavily redacted of all

   substance.” Dkt. 1320, at 10 (emphasis in original). This is a red herring. The fact that the BEP

   has been applied to other documents has no bearing on whether the disclosure of these Documents

   will result in future OCC timidity. Moreover, if Plaintiffs’ argument were correct—and it is not—

   then this factor would weigh in favor of disclosure in virtually every case where a large number of




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   documents have been properly withheld on privilege grounds. That cannot be, and is not, the

   proper standard.

          Plaintiffs also appeal to this case’s “strong Protective Order,” Dkt. 1320, at 10, but the

   “strong Protective Order” in this case exists precisely to prevent precisely what Plaintiffs are

   attempting to do now. As Capital One’s Motion to Enforce Protective Order and to Strike

   demonstrates, the Protective Order in this case has robust clawback provisions to prevent this exact

   scenario from arising, and Plaintiffs have ignored those provisions to seek an improper tactical

   advantage. See Dkt. 1316, at 6–9. Plaintiffs should not be allowed to brandish inadvertently

   produced privileged material in direct violation of the Protective Order and then claim that the

   Protective Order excuses their conduct. In sum, there is an extreme risk that the supervisory

   process will be chilled if Plaintiffs are allowed to weaponize

                                      in this private civil lawsuit. This factor thus weighs heavily in

   favor of preserving the OCC’s privilege.

                                            CONCLUSION

          For the reasons stated above, the Court should deny Plaintiffs’ Motion to Compel.

   Dated: May 19, 2021           Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on May 19, 2021, I caused the foregoing document to be filed with the

   Clerk of Court using the CM/ECF system, which will send notice of electronic filing to all counsel

   of record.



                                                       /s/
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